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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA :                         Case No.: 21-CR-64 (CKK)
                         :
     v.                  :
                         :
TOMMIE FREDERICK ALLAN, :
                         :
          Defendant.     :

                     NOTICE OF WITHDRAWAL OF APPEARANCE
       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the undersigned counsel withdraws his

appearance in this matter.

                                            Respectfully submitted,
                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar No. 481052

                                            By: /s/ Steven Ward
                                            Trial Attorney
                                            D.C. Bar No. 395410
                                            Department of Justice
                                            National Security Division
                                            Counterterrorism Section
                                            Phone: (202) 305-2461
                                            Email: steven.ward@usdoj.gov
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                                CERTIFICATE OF SERVICE
       On this 24th day of May 2022, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.
                                    /s/ Steven Ward

                                    STEVEN WARD
                                    Trial Attorney
                                    Department of Justice
                                    National Security Division
